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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-03624-LTB-GPG

  KENT VU PHAN,

         Plaintiff,

  v.

  RED SKY HOMEOWNERS ASSOCIATION INC.,

         Defendant.


                                   ORDER OF DISMISSAL


         This matter is before the Court on the Recommendation Regarding Dismissal

  filed March 5, 2021 (ECF No. 9). Plaintiff filed written objections to the

  Recommendation (ECF No. 12). The Court has reviewed the Recommendation de

  novo in light of the file and record in this case. On de novo review the Court concludes

  that the Recommendation is correct for the reasons stated therein.

         The Court certifies pursuant to 28 U.S.C. ' 1915(a)(3) that any appeal from this

  Order is not taken in good faith and, therefore, in forma pauperis status is denied for the

  purpose of appeal. See Coppedge v. United States, 369 U.S. 438 (1962). If Plaintiff

  files a notice of appeal, he must also pay the full $505 appellate filing fee or file a motion

  to proceed in forma pauperis in the U.S. Court of Appeals for the Tenth Circuit within

  thirty days in accordance with Fed. R. App. P. 24.

         Accordingly, it is

         ORDERED that the objections (ECF No. 12) are overruled. It is

         FURTHER ORDERED that the Recommendation Regarding Dismissal (ECF No.
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  9) is accepted and adopted. It is

        FURTHER ORDERED that the federal claims in the Amended Complaint (ECF

  No. 6) and this action are DISMISSED WITHOUT PREJUDICE for failure to comply with

  Rule 8 of the Federal Rules of Civil Procedure. It is

        FURTHER ORDERED that the Court declines to exercise supplemental

  jurisdiction over any state law claims in the Amended Complaint (ECF No. 6), and such

  claims likewise are DISMISSED WITHOUT PREJUDICE. It is

        FURTHER ORDERED that leave to proceed in forma pauperis on appeal is

  DENIED WITHOUT PREJUDICE to the filing of a motion seeking leave to proceed in

  forma pauperis on appeal in the United States Court of Appeals for the Tenth Circuit.

        DATED at Denver, Colorado, this      4th   day of     May       , 2021.

                                           BY THE COURT:

                                             s/Lewis T. Babcock
                                           LEWIS T. BABCOCK, Senior Judge
                                           United States District Court




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